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                EXHIBIT 1
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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
                        _____________________________________

JOHN DOE,

               Plaintiff,                              Case No.     1:19-cv-226

                                                       Hon. Paul L. Maloney



vs.



MICHIGAN STATE UNIVERSITY;
ROBERT KENT, in his individual and official capacity,
RICK SCHAFER, in his individual and official capacity,
ARON SOUSA, M.D., in his individual and official capacity,
jointly and severally,

            Defendants.
__________________________________________________________________________/

      SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

         NOW COMES the Plaintiff, John Doe, by and through counsel and for his

complaint against Defendants states as follows:

                                   INTRODUCTION

1. Plaintiff John Doe brings this action for violation of Title IX, violations of the

      Equal Protection Clause of the United States Constitution under 42 U.S.C.

      §1983, violation of the Due Process Clause of the United States Constitution

      under 42 U.S.C. §1983, and other related claims.




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2. This case arises out of the decision of Michigan State University (“MSU”) and

   the individual Defendants to impose disciplinary sanctions against John Doe in

   violation of his constitutional and statutory rights.

                                       PARTIES

3. Plaintiff John Doe was a medical student at the College of Human Medicine

   (“CHM”) at MSU until February 12, 2019, when he was suspended, and then

   subsequently dismissed on July 15, 2019.

      a. John Doe is a citizen of Michigan with a residence in Grand Rapids,

         Michigan.

      b. On February 12, 2019, John Doe was near the end of his third year of

         medical school at the CHM. He would have graduated and entered

         residency in approximately one year.

      c. The disclosure of John Doe’s identity will cause the student irreparable

         harm as this case involves matters of the utmost personal intimacy,

         including education records protected from disclosure by the Family

         Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. § 1232g; CFR

         Part 99.

4. Defendant Michigan State University is a land grant university established by

   the State of Michigan. The main campus of Michigan State University is located

   in East Lansing, Michigan. Michigan State University is the beneficiary of state

   appropriations and the recipient of state and federal grants.




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5. Defendant Robert Kent is the Interim Associate Vice President, Office for Civil

   Rights and Title IX Education and Compliance for Michigan State University.

   He has a principal place of business at Olds Hall, 408 W. Circle Dr., Suite 4,

   East Lansing, Michigan 48824.

      a. Defendant Kent is sued in his individual and official capacities for

         declaratory and injunctive relief and for money damages.

      b. On information and belief, Defendant Kent is acting under the policies,

         procedures, and practices of Michigan State University.

      c. Defendant Kent is responsible for administering the Policy on

         Relationship Violence and Sexual Misconduct for Michigan State

         University.

6. Defendant Rick Schafer is the Associate Director of Student Conduct and

   Conflict Resolution for Michigan State University. He has a principal place of

   business at Student Services Building, 556 E. Circle Dr., Room 101, East

   Lansing, Michigan 48824.

      a. Defendant Schafer is sued in his individual and official capacities for

         declaratory and injunctive relief and for money damages.

      b. On information and belief, Defendant Schafer is acting under the policies,

         procedures, and practices of Michigan State University.

      c. Defendant Schafer is responsible for the administration of disciplinary

         action under the Policy on Relationship Violence and Sexual Misconduct

         for Michigan State University.



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7. Defendant Aron Sousa, M.D. is a Senior Associate Dean for the Michigan State

   University College of Human Medicine. He has a principal place of business at

   East Fee, 909 Fee Rd., A118, East Lansing, Michigan 48824.

      a. Defendant Sousa is sued in his individual and official capacities for

          declaratory and injunctive relief and for money damages.

      b. On information and belief, Defendant Sousa is acting under the policies,

          procedures, and practices of Michigan State University, including the

          Medical Student Rights and Responsibilities (“MSRR”).

      c. Defendant Sousa is responsible for administering the MSRR and imposing

          discipline for violations of conduct under the MSRR.

                            JURISDICTION AND VENUE

8. This case arises, in part, under the laws of the United States, specifically 42

   U.S.C. § 1983 and Title IX of the Education Amendments of 1972 (Title IX), 20

   U.S.C. §§ 1681 et seq. Accordingly, this Court has jurisdiction in this matter

   pursuant to 28 U.S.C. §§ 1331 and 1343.

9. This Court is an appropriate venue for this cause of action pursuant to 28 U.S.C.

   § 1391. The individual defendants are residents of the State in which this

   district is located and a substantial part of the events or omissions giving rise to

   the claim occurred in this district.

                                          FACTS

10. This case arises amidst both a national controversy stemming from the Federal

   Department of Education, Office of Civil Rights’ (“OCR”) threats to withhold



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   federal education funds to compel colleges and universities to address “sexual

   violence” on their campuses, and a sexual abuse scandal involving Dr. Larry

   Nassar, a Michigan State University employee who sexually abused hundreds of

   women and girls, and resulted in payment by Michigan State University of over

   a half billion dollars in settlements.

11. These two controversies have resulted in significant criticism of Michigan State

   University for being too lax in its investigations of campus sexual misconduct.

12. Michigan State University’s response to this criticism has been to crack down on

   alleged perpetrators of sexual misconduct.

13. Michigan State University is ill-equipped to handle and adjudicate matters of

   alleged sexual misconduct, and their response to the criticism has gone too far,

   resulting in the deprivation of the rights of students accused of sexual

   misconduct.

14. Instead of requiring accusers to prove that they were assaulted, the accused

   students must prove that they had consent for sexual contact.

15. When adjudicating allegations of sexual assault, Michigan State University

   applies the lowest standard of proof available – preponderance of the evidence.

16. Michigan State University effectively treats male students accused of sexual

   misconduct with a presumption of guilt.

17. As detailed in this Complaint, Michigan State University’s unlawful discipline of

   John Doe based on his gender is part of a troubling trend among American




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   universities which forces students to pursue litigation to clear their names and

   continue to pursue their educational and life goals.

The Alleged Incidents with Jane Roe 1 and Jane Roe 2

18. On April 23, 2016, John Doe, Jane Roe 1, Jane Roe 2, and K.B. were all first-

   year medical students at Michigan State University.

19. The four students, along with several other friends, planned to attend the Med

   Ball, which was taking place at Noto’s Old World Italian Dining, a restaurant

   located in Grand Rapids, Michigan.

20. Prior to the Med Ball, John Doe, Jane Roe 1 and Jane Roe 2 gathered at the off-

   campus residence of K.B., where they all began to consume alcohol.

21. Prior to the night of the Med Ball, Jane Roe 1 had been engaged in a sexual

   relationship with K.B.

22. K.B. reported to investigators that his sexual relationship with Jane Roe 1 was

   not exclusive.

23. Jane Roe 1 believed her romantic relationship with K.B. to be ongoing at the

   time of the Med Ball.

24. Jane Roe 2 had planned to attend the Med Ball with her then-husband, J.M.

25. Jane Roe 2 and J.M. had gathered at K.B.’s home along with the other parties

   before leaving for the Med Ball.

26. After gathering at K.B.’s home, the parties all traveled by Uber to Noto’s, the

   venue for the Med Ball.




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27. While at the Med Ball, all of the parties report voluntarily consuming alcohol

   and dancing.

28. Jane Roe 1 and John Doe danced together.

29. John Doe taught Jane Roe 1 the steps to the Waltz and the Cha-Cha.

30. When dancing, John Doe and Jane Roe 1 discussed that they were the only ones

   at the Med Ball without a date.

31. Jane Roe 1 told John Doe, “I guess you’re my date for the Med Ball.”

32. John Doe and Jane Roe 1 continued to talk about friends, medical school stress,

   and drinking.

33. John Doe and Jane Roe 1 continued to dance with each other which progressed

   to sexually grinding on each other while on the dance floor.

34. Jane Roe 1 reported that she drank more than she usually does because Med

   Ball “was a big event to celebrate a stressful year.”

35. John Doe, who was a first-year medical student at the time, had also had a

   particularly stressful year, as his mother had been recently diagnosed with

   breast cancer for the second time in addition to the obvious stressors of medical

   school.

36. Early in the evening, Jane Roe 2 and her then-husband, J.M., had a serious

   argument that led J.M. to ask Jane Roe 2 for a divorce and leave the venue.

37. Jane Roe 1 sought out Jane Roe 2 after Jane Roe 2’s argument with J.M. in

   order to comfort her.




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38. Later, Jane Roe 1 became separated from her group of friends and went looking

   for Jane Roe 2.

39. When Jane Roe 1 went outside the venue to search for Jane Roe 2, she

   discovered Jane Roe 2 and K.B. engaged in a kiss.

40. Jane Roe 1 ran back inside the venue and up a set of stairs where she sat down

   and began texting Jane Roe 2.

41. Jane Roe 1 wrote to Jane Roe 2, “Just done. Don’t expect me to be ur friend

   anymore. I’ve done nothing but try to be a good friend to u and be supportive of

   whatever u need.”

42. After Jane Roe 1 engaged in a text conversation with Jane Roe 2, John Doe

   approached her and sat down next to her on the stairway.

43. Jane Roe 1 recounted to John Doe what she had witnessed between Jane Roe 2

   and K.B.

44. Their conversation continued, and eventually John Doe initiated a kiss with

   Jane Roe 1.

45. Jane Roe 1 responded by kissing John Doe back, using her tongue.

46. Jane Roe 1 and John Doe shared multiple kisses while sitting on the stairs.

47. John Doe and Jane Roe 1 had their hands on each other’s arms and faces while

   kissing each other.

48. John Doe and Jane Roe 1 got up and moved from the stairway to the second floor

   of the venue.




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 49. John Doe and Jane Roe 1 then went into a stairwell off of the second floor of the

    venue.

 50. John Doe and Jane Roe 1 began to kiss and “make out.”

 51. John Doe and Jane Roe 1 continued to progress from making out to touching

    underneath the clothes.

 52. John Doe recalls Jane Roe 1 acting with eagerness while engaging in the sexual

    contact.

 53. John Doe also recalls Jane Roe 1 taking off her own dress at this point in the

    interaction.

 54. Jane Roe 1’s memory does not dispute this assertion.

 55. Jane Roe 1 then got down on her hands and knees, on her own accord, to present

    herself for sexual intercourse.

 56. Jane Roe 1 asked John Doe if she could use his jacket to cushion her knees.

 57. Jane Roe 1 and John Doe attempted to engage in sexual intercourse.

 58. John Doe could not achieve a full erection due to his alcohol consumption and

    was unable to complete the act.

 59. After approximately fifteen minutes of trying to achieve intercourse, John Doe

    told Jane Roe 1 that “it wasn’t going to work.”

 60. John Doe and Jane Roe 1 got dressed and exited the stairwell.

 61. John Doe and Jane Roe 1 stood in the lobby of the venue, arm in arm.

 62. John Doe and Jane Roe 1 also held hands.




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 63. John Doe, Jane Roe 1, Jane Roe 2, and K.B. left the venue and headed to The

    B.O.B., a bar in Grand Rapids, Michigan.

 64. In the Uber on the way to The B.O.B., Jane Roe 1 and John Doe continued to

    hold hands.

 65. Jane Roe 1 placed her head on John Doe’s shoulder during the car ride.

 66. When the parties arrived at The B.O.B., Jane Roe 1 went downstairs with K.B.

    while their other friends, including John Doe and Jane Roe 2, went upstairs into

    the club.

 67. Jane Roe 1 talked to K.B. about seeing him engaging in a kiss with Jane Roe 2.

 68. Jane Roe 1 cried during this conversation with K.B.

 69. K.B. observed that Jane Roe 1 was upset and attributed it to her being upset

    about seeing him kissing Jane Roe 2 at the Med Ball.

 70. K.B. apologized to Jane Roe 1 about the kiss between himself and Jane Roe 2,

    telling her “sorry, that wasn’t fair to you.”

 71. Jane Roe 1 did not tell K.B. that she had engaged in sexual contact with John

    Doe.

 72. While Jane Roe 1 and K.B. were having this discussion downstairs at The

    B.O.B., Jane Roe 2 and John Doe were upstairs, together on the dance floor.

 73. While on the dance floor together, Jane Roe 2 suggested to John Doe that he and

    Jane Roe 1 “would make a good couple.”

 74. John Doe indicated to Jane Roe 2 that he and Jane Roe 1 had already reached

    that conclusion on their own.



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 75. Despite this, while Jane Roe 2 and John Doe continued to dance in the club at

    The B.O.B., Jane Roe 2 told John Doe that he was “very cute.”

 76. Jane Roe 2 put her finger down the angle of John Doe’s jaw and felt his stubble.

 77. Jane Roe 2 kissed John Doe, with tongue, while on the dance floor.

 78. Jane Roe 1, Jane Roe 2, K.B., and John Doe left The B.O.B. and went to the

    residence of K.S., another medical student.

 79. Jane Roe 1, Jane Roe 2, K.B., and John Doe left the home of K.S. and returned to

    K.B.’s private residence in Grand Rapids, Michigan.

 80. Jane Roe 1 went into K.B.’s bedroom.

 81. Jane Roe 2, K.B., and John Doe spent some time hanging out and talking in the

    kitchen.

 82. Later, after John Doe had left the kitchen, he walked by and observed Jane Roe

    2 and K.B. having sexual intercourse in the kitchen.

 83. John Doe went into K.B.’s bedroom in order to go to sleep.

 84. John Doe laid down on the bed next to Jane Roe 1.

 85. Jane Roe 1 and John Doe laid in the bed, facing each other.

 86. John Doe did not touch Jane Roe 1.

 87. John Doe was unable to fall asleep, so he later left the room and went to the

    living room.

 88. When John Doe entered the living room, Jane Roe 2 was on the sectional couch.

 89. Jane Roe 2 was awake and moved to make room for John Doe to lay down next

    to her on the couch.



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 90. John Doe laid down behind Jane Roe 2.

 91. Jane Roe 2 began to grind her buttocks against John Doe’s genitals.

 92. Jane Roe 2 and John Doe began kissing, and engaged in touching of the waist,

    breast, and shoulders.

 93. After several minutes, John Doe pulled Jane Roe 2’s dress upward and placed

    his hand on her buttocks.

 94. Jane Roe 2 stated “I’m tired” or “no.”

 95. John Doe did not continue to touch Jane Roe 2.

 96. John Doe moved to another part of the couch, and John Doe and Jane Roe 2 slept

    the remainder of the night on separate parts of the couch.

 97. The next morning, John Doe received a ride to his car from K.B.

 98. John Doe revealed to K.B. during this car ride that he had sexual contact with

    Jane Roe 1.

 99. Jane Roe 2 was picked up from K.B.’s home by her husband, J.M., the following

    morning.

 100.   When K.B. returned to his home from driving John Doe to his car, he

    confronted Jane Roe 1 about having sexual contact with John Doe.

 101.   During this conversation with K.B., Jane Roe 1, for the first time, begins to

    allude that her encounter with John Doe was not consensual when confronted by

    her paramour, K.B., with this information.

 102.   Later that morning, Jane Roe 1 texted John Doe and asked about condom

    use.



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 103.   Jane Roe 1 and John Doe discussed by text that Jane Roe 1 should obtain

    Plan B from a pharmacy in order to prevent a possible pregnancy.

 104.   Jane Roe 1 later texts to John Doe, “Look, I need you to know that Saturday

    was a mistake and nothing like that can happen again.”

 105.   At no time during this text conversation with John Doe does Jane Roe 1 state

    that what happened between her and John Doe was not consensual.

 106.   After John Doe asks Jane Roe 1 to lunch, she declines his invitation,

    indicating that she cared about K.B. and that is her priority.

 107.   John Doe’s contact with Jane Roe 1 after these text messages was limited to

    just seeing her at school functions.

 108.   John Doe was later placed on a rotation for Obstetrics and Gynecology with

    Jane Roe 2.

 109.   John Doe and Jane Roe 2 worked together in a professional manner, treating

    each other with courtesy and respect.

 110.   Neither Jane Roe 1 or Jane Roe 2 had made their complaints at that point,

    and John Doe had no indication that either Jane Roe 1 or Jane Roe 2 had any

    issue with their interactions on the night of the Med Ball.

 111.   It was nearly two years after the 2016 Med Ball that Jane Roe 1 and Jane

    Roe 2 reported their claim to the Office of Institutional Equity (“OIE”) for

    Michigan State University.

 112.   Jane Roe 2’s report was made to OIE on February 26, 2018.

 113.   Jane Roe 1’s report was made to OIE on February 28, 2018.



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 Michigan State University’s Investigation Process

 114.   John Doe was first notified of Jane Roe 2’s report to OIE via a letter from

    Kroll Associates, Inc. (“Kroll”), who was hired by OIE to investigate the

    allegations, on April 17, 2018.

 115.   John Doe was interviewed regarding Jane Roe 2’s report on April 20, 2018.

 116.   John Doe was first notified of Jane Roe 1’s report to OIE via a letter from

    Kroll on July 31, 2018.

 117.   John Doe was interviewed regarding Jane Roe 1’s report on August 15, 2018.

 118.   Regarding Jane Roe 1’s report, Kroll’s investigators interviewed Jane Roe 1’s

    witnesses K.B., A.B., C.K., E.P, H.R., K.S., L.T., and A.V.

 119.   None of Jane Roe 1’s witnesses were eyewitnesses to the actual alleged

    incident.

 120.   Regarding Jane Roe 1’s report, Kroll’s investigators interviewed no witnesses

    for John Doe.

 121.   Regarding Jane Roe 2’s report, Kroll’s investigators interviewed Jane Roe 2’s

    witnesses K.B., A.B., E.R., K.S., and L.T.

 122.   None of Jane Roe 2’s witnesses were eyewitnesses to the actual alleged

    incident.

 123.   Regarding Jane Roe 2’s report, Kroll’s investigators interviewed no witnesses

    for John Doe.

 124.   Jane Roe 2 was first interviewed by Kroll’s investigators on March 20, 2018.




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 125.   Jane Roe 2 had nearly a month to prepare for her initial interview with

    investigators.

 126.   Nearly a month after Kroll’s interview with Jane Roe 2, on April 17, 2018,

    Kroll investigator Nicole Y. Lamb-Hale send John Doe correspondence via email

    notifying John Doe that Michigan State University intended to formally

    investigate him for an alleged violation of the university’s Relationship Violence

    and Sexual Misconduct Policy (“RVSMP”).

 127.   Ms. Lamb-Hale’s April 17, 2018 correspondence stated as to the allegations

    against John Doe, “[Jane Roe 2] alleges that you engaged in sexual harassment,

    and specifically made unwanted sexual contact with her in violation of Section X

    of the University’s RVSM policy on or about April 23, 2016 at a classmate’s

    house in Grand Rapids, Michigan.”

 128.   Ms. Lamb-Hale’s April 17, 2018 correspondence provided John Doe only

    vague and inadequate notice of the charges and allegations against him by Jane

    Roe 2.

 129.   John Doe, at the time he received the letter, was academically engaged in his

    internal medicine rotation. He was engaged in furious preparation for the

    internal medicine shelf exam, which is widely held to be the toughest shelf exam

    faced by medical students.

 130.   John Doe’s internal medicine shelf exam took placed on April 20, 2018.




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 131.   Kroll scheduled the interview with John Doe for immediately following his

    internal medicine shelf exam on April 20, 2018, only three days after providing

    John Doe with the vague notice of the allegations.

 132.   Given the rigorous nature of the requirements of the rotation and studying to

    pass the shelf exam, John Doe had no opportunity to engage in any preparation

    for this interview by Kroll, or to consult with an attorney or advisor regarding

    the interview.

 133.   John Doe was not given adequate time, particularly given his rigorous

    academic requirements, to even read through the university’s RVSMP.

 134.   Further, the April 17, 2018 letter from Ms. Lamb-Hale did not detail the

    potential consequences that John Doe was facing as a result of these allegations.

 135.   John Doe, going into the interview, had no idea that suspension or dismissal

    from the university were likely consequences if he were to be found responsible

    for the alleged sexual misconduct in violation of the RVSMP.

 136.   When John Doe questioned Ms. Lamb-Hale and her fellow Kroll investigator,

    Tyler Falish, about the potential consequences, he was given a very vague

    answer in the vein of “many things,” and was told that their largest concern was

    ensuring the safety of the parties going forward.

 137.   When John Doe questioned whether he should continue with the interview or

    first obtain an attorney to represent him, Ms. Lamb-Hale and Mr. Falish

    downplayed the potential consequences and the need for legal representation in

    order to induce John Doe to engage in the interview that day.



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 138.   When John Doe walked into the interview on April 20, 2018, he did so

    without being given meaningful notice of the allegations for which he was being

    investigated.

 139.   Despite the university’s, and thereby Kroll’s, obligation to conduct an

    impartial investigation, the vague notice provided to John Doe indicates that the

    investigation was tainted from the outset by gender bias and a presumption of

    John Doe’s guilt.

 140.   The April 17, 2018 letter from Ms. Lamb-Hale was the only notice John Doe

    was afforded prior to his interview.

 141.   According to the letter, this meeting “is your opportunity to be heard. During

    the meeting you will have the opportunity to provide a statement, submit

    evidence, and identify potential witnesses.”

 142.   Given the vague and inadequate notice provided by the university regarding

    the underlying allegations, John Doe was placed at an immediate disadvantage

    in preparing for his interview with investigators.

 143.   John Doe was not adequately given an opportunity to be heard, provide a

    complete statement, gather evidence to submit to investigators, or identify

    potential witnesses.

 144.   With regard to Jane Roe 2’s allegations, this interview constituted John Doe’s

    only opportunity to be heard.




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 145.   Prior to the findings made by Kroll’s investigators, John Doe was not offered

    a live hearing or an opportunity for live cross-examination of Jane Roe 2 or any

    of her witnesses.

 146.   On February 28, 2018, two days after OIE received a complaint from Jane

    Roe 2, OIE received a complaint from Jane Roe 1.

 147.   Jane Roe 1’s case was closed on March 5, 2018 due to non-participation by

    Jane Roe 1.

 148.   At no time did Kroll or Michigan State University notify John Doe of the

    claim by Jane Roe 1, either before the OIE’s request for an interview regarding

    the claim by Jane Roe 2, or during the interview regarding the allegations

    surrounding Jane Roe 2.

 149.   This was despite the fact that Kroll intended to interview Jane Roe 1

    regarding Jane Roe 2’s allegations.

 150.   Jane Roe 1 requested to revive her claim against John Doe after being

    interviewed by Kroll regarding Jane Roe 2’s allegations on June 15, 2018.

 151.   John Doe was not given notice of Jane Roe 1’s claim until he received a letter

    from Kroll’s investigator, Nicole Lamb-Hale, on July 31, 2018.

 152.   Once again, the notice provided by the university through Kroll was vague

    and inadequate.

 153.   Ms. Lamb-Hale’s July 31, 2018 correspondence stated as to the allegations

    against John Doe, “[Jane Roe 1] alleges that you engaged in sexual violence, and

    specifically raped her in violation of Section VIII(D) of the University’s RVSM



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    policy attached, on or about April 23, 2016 at a restaurant in Grand Rapids,

    Michigan.”

 154.   During the time frame that John Doe was notified of the allegations by Jane

    Roe 1, he had recently completed a difficult surgery rotation, and had been a few

    weeks into a pediatrics rotation.

 155.   John Doe was pulled off the pediatrics rotation as a result of his performance

    on the surgery rotation. John Doe had been under tremendous stress, not only

    dealing with the investigation into false allegations by Jane Roe 1 and Jane Roe

    2, but also continuing to care for his mother who was recovering from breast

    cancer and had continued to deal with significant pain after her surgeries.

 156.   Dealing with possible academic dismissal and a facing a hearing in that

    matter, John Doe again was not afforded adequate time to sufficiently prepare

    for his interview with Kroll’s investigators, and was required to complete his

    interview on August 15, 2018.

 157.   John Doe again appeared without counsel or an advocate, with no advance

    notice of the details of the allegations made by Jane Roe 1.

 158.   The vague and inadequate notice provided by Kroll to John Doe regarding

    Jane Roe 1’s allegations again reflects that the investigation was tainted by

    gender bias and a presumption that John doe was guilty.

 159.   On February 8, 2019, Kroll completed their investigation and issued a Final

    Investigative Report.




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 160.   John Doe was not afforded a hearing or any opportunity to cross-examine

    either Jane Roe 1 or Jane Roe 2 prior to the findings issued by Kroll.

 161.   Kroll, the same party who conducted the investigation, made the finding in

    this matter.

 162.   Kroll purported to use a preponderance of the evidence standard in making

    their findings.

 163.   Regarding Jane Roe 2’s report, Kroll concluded that a preponderance of the

    evidence supported a finding that John Doe engaged in sexual contact with Jane

    Roe 2 without her consent and in violation of the Policy on Relationship Violence

    and Sexual Misconduct.

 164.   Regarding Jane Roe 1’s report, Kroll concluded that a preponderance of the

    evidence supported a finding that Respondent engaged in sexual intercourse

    with Jane Roe 1 while she was incapacitated in violation of the Policy on

    Relationship Violence and Sexual Misconduct.

 165.   Kroll’s wildly biased interpretation of the evidence gathered in their

    investigation further demonstrates that Kroll approached this matter not as a

    neutral investigator, but rather as a prosecutor attempting to prove the guilt of

    John Doe.

 166.   On February 12, 2019, as a direct result of the findings made by Kroll, the

    CHM issued an interim suspension of John Doe.




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 167.   CHM had previously been aware of these allegations for more than one year

    and had never taken action to suspend John Doe during the course of the

    investigation.

 168.   In fact, CHM staff member, Dr. Angela Busch, made Jane Roe 2’s report to

    OIE on February 26, 2018.

 169.   On February 14, 2019, John Doe was given a one-hour “hearing” to address

    the imposition of the interim suspension.

 170.   During this one-hour hearing, the hearing panel was given the Final

    Investigative Report issued by Kroll, including their findings that John Doe

    violated the RVSMP by a preponderance of the evidence.

 171.   The purpose of the February 14, 2019 “hearing” was only for the purpose of

    determining whether CHM would continue the interim suspension.

 172.   John Doe was not permitted to bring a challenge to the findings of Kroll and

    OIE during the February 14, 2019 “hearing.”

 173.   John Doe was only permitted to argue why the interim suspension should not

    continue.

 174.   The February 12, 2019 interim suspension was imposed by Defendant Aron

    Sousa, M.D.

 175.   Defendant Aron Sousa, M.D. then chose the three hearing panelists who

    decided the matter of the continuation of the interim suspension.

 176.   Defendant Aron Sousa, M.D. ran the “hearing” for the panelists.




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 177.   Defendant Aron Sousa, M.D. acted as the prosecutor during the hearing,

    presenting evidence against John Doe and arguing to the panelists that the

    interim suspension should be continued.

 178.   The MSRR provides that in order to impose an interim suspension, the fact-

    finder must find “sufficient evidence that the student has engaged in conduct of

    a sort that, if continued, threatens immediate or irreparable harm and no

    compelling evidence has been provided by the student that the conduct will be or

    has already been discontinued….”

 179.   Defendant Aron Sousa, M.D. argued a standard for imposition of the interim

    suspension that did not comport with the standard imposed by the MSRR.

 180.   Defendant Aron Sousa, M.D. stated in his closing argument to the hearing

    panel that “at some level while you could read this as a story of four dozen

    people behaving badly and hurting each other, the core story in here is, is about

    somebody who, um, based on the findings, took advantage of a friend, and um,

    when they were, at least not entirely, um, and that is the fundamental root of

    our concern and was why I thought the suspension was reasonable and should

    be continued.”

 181.   John Doe submitted a psychological evaluation and risk assessment at the

    “hearing” on the interim suspension which indicated that he was not a risk to

    the students, staff, or patients.




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 182.   John Doe protested his innocence and stated his disagreement with the

    findings in the Final Investigative Report during the “hearing” but was not given

    the opportunity to meaningfully respond to the findings or question witnesses.

 183.   The panelists determined, based on Defendant Aron Sousa, M.D.’s erroneous

    argument and the Final Investigative Report, that the interim suspension

    should be continued.

 184.   The hearing panelists relied upon the findings in the Final Investigative

    Report in order to reach their conclusion that the interim suspension would be

    continued indefinitely.

 185.   The decision to impose the interim suspension resulted in John Doe being

    immediately pulled from his surgery rotation, of which he was within

    approximately two weeks of completion.

 186.   The decision to impose the interim suspension resulted in John Doe being

    unable to begin his scheduled six-week pediatric rotation.

 187.   The interim suspension prevented John Doe from taking his Step 2

    examination, scheduled for May 22, 2019 and June 27, 2019, for which John Doe

    had already incurred expenses in the amount of $1,920.00.

 188.   On February 18, 2019, John Doe submitted his mitigation statement to the

    Dean of Students Office regarding the proposed sanction in this matter.

 189.   On February 26, 2019, John Doe received a notification from the Dean of

    Students Office recommending a sanction of dismissal.




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 190.    On March 2, 2019, John Doe presented himself to Tom Stewart, MA, LLP for

    a polygraph examination regarding the accusations of Jane Roe 1 and Jane Roe

    2.

 191.    Since Kroll’s findings regarding Jane Roe 1 were that Jane Roe 1 was

    incapacitated at the time that she and John Doe had sexual contact, Mr. Stewart

    presented John Doe with relevant questions regarding Jane Roe 1’s alleged

    incapacitation.

 192.    First, Mr. Stewart tested John Doe regarding the question “Did you observe

    [Jane Roe 1] stumble or slur her speech before going to the stairwell?”

 193.    John Doe answered the question “Did you observe [Jane Roe 1] stumble or

    slur her speech before going to the stairwell?” with a “No.”

 194.    Second, Mr. Stewart tested John Doe regarding the question “Did you observe

    [Jane Roe 1] acting confused or clumsy before going to the stairwell?”

 195.    John Doe answered the question “Did you observe [Jane Roe 1] acting

    confused or clumsy before going to the stairwell?” with a “No.”

 196.    Mr. Stewart found that John Doe’s answers regarding the questions

    presented concerning Jane Roe 1 indicated a pattern of truthfulness.

 197.    Since Kroll’s findings regarding Jane Roe 2 were that Jane Roe 2 was asleep

    when John Doe laid down on the couch with her, Mr. Stewart presented John

    Doe with relevant questions regarding Jane Roe 2’s behavior at the time that

    John Doe laid down next to her on the couch.




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 198.   First, Mr. Stewart tested John Doe regarding the question, “Was [Jane Roe 2]

    awake when you laid down next to her on the couch?”

 199.   John Doe answered the question “Was [Jane Roe 2] awake when you laid

    down next to her on the couch?” with a “Yes.”

 200.   Second, Mr. Stewart tested John Doe regarding the question “Did [Jane Roe

    2] move over so there was room on the couch for you to lay next to her?”

 201.   John Doe answered the question “Did [Jane Roe 2] move over so there was

    room on the couch for you to lay next to her?” with a “Yes.”

 202.   Mr. Stewart found that John Doe’s answers regarding the questions

    presented concerning Jane Roe 2 indicated a pattern of truthfulness.

 203.   On March 8, 2019, John Doe submitted his appeal of both the findings and

    the sanction issued by Michigan State University.

 204.   On March 8, 2019, as part of his appeal, John Doe submitted the results of

    the March 2, 2019 polygraph examination.

 205.   On March 8, 2019, after submission of his appeal, John Doe was notified that

    his appeal was placed “on hold” and that his case was being reviewed to

    determine whether a hearing should have been offered.

 206.   On March 11, 2019, John Doe requested, through his counsel, that Michigan

    State University offer him a hearing and lift the sanction of interim suspension.

 207.   On March 12, 2019, Michigan State University communicated to John Doe’s

    counsel that the matter was still under review for hearing, but that if a hearing

    was offered, the interim suspension would not be lifted.



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 208.   On March 13, 2019, John Doe received a letter from OIE acknowledging that

    the process used to make findings against him did not comport with the law in

    the Sixth Circuit.

 209.   The March 13, 2019 correspondence from OIE offered John Doe a hearing.

 210.   The March 13, 2019 correspondence from OIE required that John Doe

    request a hearing by March 20, 2019.

 211.   On March 20, 2019, John Doe requested a hearing in writing.

 212.   On March 20, 2019, John Doe further requested, again through counsel, that

    the interim suspension be lifted.

 213.   On March 20, 2019, John Doe requested through counsel that the finding

    against him be formally withdrawn.

 214.   Despite acknowledging that an unconstitutional process was utilized to reach

    the findings against John Doe and offering a hearing, Defendant Michigan State

    University did not formally withdraw the finding against John Doe and refused

    to lift the interim suspension against John Doe.

 215.   On March 20, 2019, along with his request for a hearing, John Doe objected

    through his counsel to the unconstitutional process used by Kroll to investigate

    the accusations in his case and to produce the Final Investigative Report.

 216.   On March 20, 2019, John Doe demanded through counsel that MSU not

    provide the Resolution Officer with a copy of the unconstitutionally produced

    Final Investigative Report.




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 217.   On March 20, 2019, John Doe demanded through counsel that MSU comply

    with constitutional requirements and utilize a burden of proof of clear and

    convincing evidence rather than a preponderance of the evidence standard.

 218.   On March 20, 2019, John Doe demanded through counsel that the claim

    regarding Jane Roe 2 be dismissed because Title IX does not confer jurisdiction

    to MSU over Jane Roe 2’s claim.

 219.   On March 20, 2019, John Doe demanded through counsel that he receive

    separate hearings regarding Jane Roe 1 and Jane Roe 2’s claims.

 220.   On April 12, 2019, MSU provided the case files to John Doe, which included a

    redacted version of the Final Investigative Report that redacted out the findings

    previously made by Kroll, but included the balance of the information regarding

    Kroll’s investigation.

 221.   On information and belief, the same redacted version of the Final

    Investigative Report was provided to Jane Roe 1, Jane Roe 2, counsel for Jane

    Roe 1 and Jane Roe 2, and the Resolution Officer.

 222.   MSU did not comply with John Doe’s demand that the Resolution Officer not

    be provided with the Final Investigative Report.

 223.   On May 2, 2019, a Pre-Hearing Conference was held between Judge Mark

    Eyster, the Resolution Officer, John Doe, and counsel for John Doe by video

    conference.

 224.   During the May 2, 2019 Pre-Hearing Conference, Judge Mark Eyster, the

    Resolution Officer, revealed near the end of the video conference that he had



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    reviewed information outside of the hearing record, including the pleadings in

    the instant case filed in the Western District of Michigan.

 225.   During the May 2, 2019 Pre-Hearing Conference, Judge Mark Eyster, the

    Resolution Officer, also revealed near the end of the conference that he was

    aware of or had deduced from his review of the pleadings that a prior

    unfavorable decision had been made by Michigan State University against John

    Doe.

 226.   The review of the information outside of the hearing record by the Resolution

    Officer created an unfair bias against John Doe by the Resolution Officer.

 227.   The disclosure of the prior decision against John Doe to the Resolution

    Officer created an unfair bias against John Doe by the Resolution Officer.

 228.   The review of information outside of the hearing record by the Resolution

    Officer and the disclosure of the prior decision against John Doe to the

    Resolution Officer predisposed the Resolution Officer to making a finding

    against John Doe.

 229.   On information and belief, a separate Pre-Hearing Conference was held on

    May 6, 2019 with counsel for Jane Roe 2.

 230.   On information and belief, no Pre-Hearing Conference was conducted with

    Jane Roe 1.

 231.   As a result of the Resolution Officer’s review of information outside the record

    and the disclosure of the prior decision against John Doe, John Doe’s counsel

    requested on May 8, 2019 that the Resolution Officer recuse himself from



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    hearing John Doe’s matter and that a new resolution officer be appointed by

    MSU.

 232.   On May 9, 2019, a third Pre-Hearing Conference with held with the

    Resolution Officer, counsel for John Doe, and counsel for Jane Roe 2.

 233.   Jane Roe 1 did not participate in the Pre-Hearing Conference on May 9, 2019.

 234.   On May 10, 2019, the Resolution Officer issued a decision denying John Doe’s

    request that he recuse himself and another resolution officer be appointed.

 235.   On May 13, 2019, a hearing in front of Resolution Officer Judge Mark Eyster

    began.

 236.   The Resolution Officer denied John Doe the opportunity to present testimony

    at the hearing regarding his character for good sexual morals.

 237.   The Resolution Officer denied John Doe the opportunity to present testimony

    from Tom Stewart, the polygraph examiner who had administered the polygraph

    examination passed by John Doe.

 238.   The Resolution Officer denied John Doe the opportunity to present evidence

    of the passed polygraph examination in the form of a report, despite being

    presented with legal authority that supported its admission.

 239.   The Resolution Officer permitted Jane Roe 1 to participate in the hearing

    despite her lack of participation in a Pre-Hearing Conference as required by

    MSU’s RVSMP.

 240.   The Resolution Officer permitted the admission of the Final Investigative

    Report over the objection of John Doe.



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 241.   The Resolution Officer permitted Jane Roe 1 and Jane Roe 2 to admit

    evidence that consisted of hearsay, unreliable expert testimony without

    qualification of an expert, and unfounded opinion evidence during the hearing.

 242.   The Resolution Officer requested that the parties review their statements in

    the Final Investigative Report prior to their testimony and be prepared to state

    any changes or additions to that statement that they wished to make. When

    John Doe attempted to provide changes and additions to his statement on

    request of the Resolution Officer, the Resolution Officer became irritated that

    John Doe wished to make changes and additions.

 243.   The Resolution Officer permitted Jane Roe 1 to obtain an attorney partway

    through the hearing.

 244.   The Resolution Officer permitted Jane Roe 1 to refuse to answer questions on

    cross-examination, without penalty or negative inference as a result.

 245.   On information and belief, Jane Roe 1 refused to answer questions on cross-

    examination that were relevant to her credibility and to the issue of consent.

 246.   The Resolution Officer denied John Doe the opportunity to ask relevant

    questions on cross-examination through his counsel.

 247.   The Resolution Officer required that John Doe present his direct testimony

    out of order to accommodate the schedules of Jane Roe 1 and Jane Roe 2’s

    witnesses, and then prevented John Doe from presenting testimony to rebut the

    false and misleading claims by those witnesses.




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 248.   For instance, the Resolution Officer denied John Doe the opportunity to

    present testimony to refute false and misleading claims by witness Dr. Angela

    Busch during the course of the hearing, which the Resolution Officer ultimately

    used to make a credibility determination regarding John Doe.

 249.   The Resolution Officer appeared during the hearing to favor Jane Roe 1 and

    Jane Roe 2 over John Doe in his demeanor and his rulings.

 250.   The hearing in front of Resolution Officer Judge Mark Eyster concluded on

    May 15, 2019.

 251.   At the hearing, the Resolution Officer utilized a burden of proof of

    preponderance of the evidence.

 252.   On May 22, 2019, the Resolution Office issued a decision.

 253.   The Resolution Officer found by a preponderance of the evidence that John

    Doe had violated the RVSMP as to the accusations by Jane Roe 1.

 254.   The Resolution Officer found by a preponderance of the evidence that John

    Doe had violated the RVSMP as to the accusations by Jane Roe 2.

 255.   On June 4, 2019, John Doe submitted his updated mitigation statement to

    the Dean of Students Office regarding the proposed sanction in this matter.

 256.   On June 11, 2019, John Doe received a notification from the Dean of Students

    Office recommending a sanction of dismissal.

 257.   On June 20, 2019, John Doe submitted his appeal of both the findings and

    the sanction issued by Michigan State University.




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 258.   On July 15, 2019, John Doe received notice from MSU that the Equity

    Review Officer had denied him relief on appeal of the findings and the sanction.

 259.   On July 19, 2019, John Doe received notice that he was permanently

    dismissed as a student from Michigan State University.

 260.   John Doe, during the course of the investigation in this matter, paid

    approximately $46,110.00 in tuition to Defendant Michigan State University.

 261.   John Doe has thus far incurred $283,319.83 in student loans for his medical

    education at Michigan State University, with interest rates of up to 7.6%.

 262.   During the pendency of this investigation, which lasted for nearly one year,

    Defendant Michigan State University continued to permit John Doe to pay

    tuition at a rate of $46,110.00 per year, and to continue to incur student loans in

    order to pay that tuition and living expenses.

 263.   John Doe, but for the interim suspension imposed by CHM and ultimate

    dismissal by MSU, would have completed his medical degree in 2020.

 The Bias That Caused Defendants’ Unlawful Discipline of John Doe

 264.   Larry Nassar (“Nassar”) was a long-time USA Gymnastics national team

    doctor and osteopathic physician at Michigan State University.

 265.   A 2017 lawsuit alleges that Nassar first abused a victim at Michigan State

    University while a medical student at the university in 1992, under the guise of

    medical research. See ESPN, Four new complaints filed against Larry Nassar,

    including one dating to ’92, April 19, 2017,




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    https://www.espn.com/olympics/story/_/id/19191934/new-complaints-larry-

    nassar-allege-sexual-abuse-dates-1992 (last accessed July 18, 2019).

 266.   On information and belief, in 1993, Nassar received an osteopathic medical

    degree from Michigan State University.

 267.   On information and belief, in 1997, Nassar was named gymnastics team

    physician and assistant professor at Michigan State University.

 268.   It is alleged that in 1997 a 16-year old high school student saw Nassar for

    treatment after injuring her back at a youth gymnastics program held at MSU

    and was abused during treatment. The young woman told a coach, who then

    instructed her to tell Michigan State University gymnastics coach Kathie Klages

    (“Klages”). It is alleged that Klages was informed of Nassar’s abuse and did

    nothing to report it. See Detroit News, What MSU knew: 14 were warned of

    Nassar abuse, January 18, 2018,

    https://www.detroitnews.com/story/tech/2018/01/18/msu-president-told-nassar-

    complaint-2014/1042071001/ (last accessed July 18, 2019).

 269.   A 2017 lawsuit alleges that a Michigan State University cross country athlete

    told MSU athletic program staff that she was sexually assaulted by Nassar

    during treatment, but that her concerns were dismissed by the MSU coach who

    said that Nassar was “an Olympic doctor” and “knew what he was doing.” See

    MLive, MSU doctor’s alleged victims talked for 20 years. Was anyone listening?,

    February 8, 2017,




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    https://www.mlive.com/news/page/msu_doctor_alleged_sexual_assault.html (last

    accessed July 18, 2019).

 270.   A 2016 lawsuit alleges that in 2000, a Michigan State University softball

    player told three MSU athletic trainers and another staff member that Nassar

    was sexually inappropriate during medical treatments, and that the MSU

    employees failed to report Nassar. See MLive, MSU officials told in 2000 of

    sexual abuse by Dr. Nassar, lawyer alleges, December 21, 2016,

    https://www.mlive.com/news/page/msu_doctor_alleged_sexual_assault.html (last

    accessed July 18, 2019).

 271.   On information and belief, in 2004, Nassar is first reported to the police when

    a 17-year old young woman reports abuse during treatment to the Meridian

    Township Police Department.

 272.   On information and belief, in 2014, a Title IX complaint is filed against

    Nassar at Michigan State University by a MSU graduate. The Title IX

    investigation resulted in a finding that Nassar’s conduct was not sexual in

    nature, and cleared him of any misconduct. See Detroit News, What MSU knew:

    14 were warned of Nassar abuse, January 18, 2018,

    https://www.detroitnews.com/story/tech/2018/01/18/msu-president-told-nassar-

    complaint-2014/1042071001/ (last accessed July 18, 2019).

 273.   On information and belief, the same MSU graduate who made the 2014 Title

    IX complaint also filed a police report with the Michigan State University Police.

    During the 16 months that the case was under investigation by the MSU Police



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    Department, Nassar continued to treat patients at MSU. Ultimately, in

    December of 2015, prosecutors declined to file charges against Nassar. See

    Detroit News, What MSU knew: 14 were warned of Nassar abuse, January 18,

    2018, https://www.detroitnews.com/story/tech/2018/01/18/msu-president-told-

    nassar-complaint-2014/1042071001/ (last accessed July 18, 2019).

 274.   On information and belief, on August 29, 2016, a former MSU gymnast filed a

    complaint against Nassar with the Michigan State University Police

    Department. See Indianapolis Star, Former USA Gymnastics doctor accused of

    abuse, September 12, 2016,

    https://www.indystar.com/story/news/2016/09/12/former-usa-gymnastics-doctor-

    accused-abuse/89995734/ (last accessed July 18, 2019).

 275.   On information and belief, on August 30, 2016, Nassar was reassigned from

    all clinical duties at Michigan State University.

 276.   On September 12, 2016, The Indianapolis Star ran a story wherein two

    former gymnasts accused Nassar of sexual abuse. See Indianapolis Star, Former

    USA Gymnastics doctor accused of abuse, September 12, 2016,

    https://www.indystar.com/story/news/2016/09/12/former-usa-gymnastics-doctor-

    accused-abuse/89995734/ (last accessed July 18, 2019).

 277.   On September 20, 2016, Nassar was fired from Michigan State University.

 278.   On November 22, 2016, Nassar was charged with three counts of first degree

    criminal sexual conduct by the Michigan Attorney General.




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 279.   On December 16, 2016, Nassar is indicted in a separate case on federal child

    pornography charges.

 280.   On January 10, 2017, a lawsuit was filed against Michigan State University

    in the Western District of Michigan, with eighteen plaintiffs alleging that MSU

    knew about allegations of sexual abuse by Nassar and failed to take proper

    action. See Lansing State Journal, 18 more alleged victims sue MSU, Nassar,

    January 10, 2017,

    https://www.lansingstatejournal.com/story/news/local/2017/01/10/larry-nassar-

    michigan-state-lawsuit/96246098/ (last accessed July 18, 2019).

 281.   On February 13, 2017, Michigan State University gymnastics coach Kathie

    Klages was suspended over court records that showed that two women said that

    she discouraged them from filing sexual assault complaints against Nassar in

    the 1990s. See Lansing State Journal, MSU suspends women’s gymnastics coach,

    February 13, 2017,

    https://www.lansingstatejournal.com/story/news/local/2017/01/10/larry-nassar-

    michigan-state-lawsuit/96246098/ (last accessed July 18, 2019).

 282.   Klages retired from Michigan State University on February 14, 2017. See

    Lansing State Journal, MSU gymnastics coach Kathie Klages retires as

    allegations stack up, February 14, 2017,

    https://www.freep.com/story/news/local/michigan/2017/02/14/more-allegations-

    surface-against-msu-gymnastics-coach-kathie-klages/97898106/ (last accessed

    July 18, 2019).



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 283.   On February 22, 2017, 22 additional first-degree criminal sexual conduct

    charges were filed against Nassar in Ingham and Eaton counties related to his

    work at Michigan State University and a gymnastics club. See Lansing State

    Journal, Schuette: Nassar is ‘a monster’ and more charges coming, February 22,

    2017, https://www.lansingstatejournal.com/story/news/local/2017/02/22/former-

    msu-doctor-larry-nassar-faces-23-new-sexual-assault-charges/98220438/ (last

    accessed July 18, 2019).

 284.   On June 30, 2017, 23 more women joined a federal lawsuit against Michigan

    State University involving the allegations against Nassar. See Lansing State

    Journal, 23 more women, girls file lawsuit against MSU, Nassar, June 30, 2017,

    https://www.lansingstatejournal.com/story/news/local/2017/06/30/23-more-

    women-girls-file-lawsuit-against-msu-nassar/443945001/ (last accessed July 18,

    2019).

 285.   On July 11, 2017, Nassar pled guilty to child pornography charges in federal

    court in the Western District of Michigan. See National Public Radio, Doctor

    Accused of Molesting U.S. Gymnasts Pleads Guilty to Porn Charges, July 11,

    2017, https://www.npr.org/sections/thetwo-way/2017/07/11/536568612/doctor-

    accused-of-molesting-u-s-gymnasts-to-plead-guilty-to-other-charges (last

    accessed July 18, 2019).

 286.   On November 20, 2017, Nassar pled guilty to seven counts of first-degree

    criminal sexual conduct in the Ingham County Circuit Court. See The Detroit

    News, MSU doctor Nassar pleads guilty, November 20, 2017,



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    https://www.detroitnews.com/story/news/local/michigan/2017/11/20/larry-nassar-

    guilty-plea-gymnast-rapes/107892648/ (last accessed July 18, 2019).

 287.   On November 29, 2017, Nassar pled guilty to three counts of first-degree

    criminal sexual conduct in the Eaton County Circuit Court. See Lansing State

    Journal, Nassar pleads guilty to 3 more sexual assault charges, November 29,

    2017, https://www.lansingstatejournal.com/story/news/local/2017/11/29/larry-

    nassar-sexual-assault-guilty/897950001/ (last accessed July 18, 2019).

 288.   On December 7, 2017, Nassar was sentenced to 60 years in prison on the

    federal child pornography charges. See Lansing State Journal, Larry Nassar

    sentenced to 60 years in federal child pornography case, December 7, 2017,

    https://www.lansingstatejournal.com/story/news/local/2017/12/07/larry-nassar-

    sentenced-60-years-federal-child-pornography-case/908838001/ (last accessed

    July 18, 2019).

 289.   On January 19, 2018, Michigan State University’s Board of Trustees sent a

    letter to Michigan Attorney General Bill Schuette requesting that the AG open

    an investigation into MSU’s handling of the Nassar allegations. See SBNation, A

    comprehensive timeline of the Larry Nassar case, January 16, 2019,

    https://www.sbnation.com/2018/1/19/16900674/larry-nassar-abuse-timeline-usa-

    gymnastics-michigan-state (last accessed July 19, 2019).

 290.   During victim impact statements given at the Ingham County Circuit Court

    in mid-January of 2018 during the Nassar sentencing, many Nassar victims

    placed blame on Michigan State University for ignoring earlier complaints about



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    Nassar’s misconduct and failing to take responsibility for their role in the

    continuing abuse. See CNN, Victims confront Larry Nassar in court: ‘Little girls

    don’t stay little forever’, January 16, 2018,

    https://www.cnn.com/2018/01/16/us/larry-nassar-sentencing-

    gymnastics/index.html (last accessed July 19, 2019).

 291.   During the victim impact statements at the Nassar sentencing in January of

    2018, Michigan State University was heavily criticized on Twitter after a 15-

    year old testified in court that she was assaulted by Nassar one week prior to his

    firing, and it was reported that the MSU Sports Clinic was still attempting to

    bill the girl’s family for the treatment. See, e.g.

    https://twitter.com/DanMurphyESPN/status/955462977314082816 (last accessed

    July 19, 2019).

 292.   At Nassar’s sentencing, Michigan State University was accused of turning a

    “blind eye” to the ongoing abuse by Nassar. See, e.g. PBS News Hour Sexual

    abuse survivors confront former USA Gymnastics doctor: ‘Little girls don’t stay

    little girls forever’, January 16, 2018

    https://www.pbs.org/newshour/nation/sexual-abuse-survivors-confront-former-

    usa-gymnastics-doctor-little-girls-dont-stay-little-girls-forever (last accessed July

    16, 2019).

 293.   On January 23, 2018, the National Collegiate Athletic Association (NCAA)

    sent a letter of inquiry to MSU regarding the Nassar case. See Lansing State

    Journal, NCAA sends letter of inquiry to Michigan State over Larry Nassar case,



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    January 23, 2018,

    https://www.lansingstatejournal.com/story/sports/college/msu/2018/01/23/ncaa-

    investigation-michigan-state-larry-nassar/1060448001/ (last accessed July 19,

    2019).

 294.   On January 24, 2018, Nassar was sentenced in the Ingham County Circuit

    Court to 40 to 175 years in prison. See Lansing State Journal, ‘Just signed your

    death warrant’: Larry Nassar sentenced to 40 to 175 years, January 24, 2018,

    https://www.lansingstatejournal.com/story/news/local/2018/01/24/larry-nassar-

    makes-apology-before-sentence/1060107001/ (last accessed July 19, 2019).

 295.   On January 24, 2018, Michigan State University President Lou Anna K.

    Simon resigned from her position in the wake of the Nassar scandal. See

    SBNation, MSU President Lou Anna Simon resigns in wake of Larry Nassar

    scandal, January 24, 2018,

    https://www.sbnation.com/2018/1/24/16930700/michigan-state-president-lou-

    anna-simon-resigns-larry-nassar (last accessed July 19, 2019).

 296.   On January 26, 2018, Michigan State University Athletic Director Mark

    Hollis announced his retirement, stepping down after ten years as MSU’s AD in

    the wake of the Nassar scandal. See SB Nation, Michigan State athletic director

    Mark Hollis steps down, January 26, 2018,

    https://www.sbnation.com/2018/1/26/16936570/michigan-state-mark-hollis-ad-

    retires-nassar (last accessed July 21, 2019).




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 297.   On February 5, 2018, Nassar was sentenced to 40 to 125 years in prison in

    the Eaton County Circuit Court. See Associated Press, Latest: Work with

    investigators, Engler tells MSU employees, February 5, 2018,

    https://apnews.com/a8e014fb553d4b9682f32d89eaa4d71b?utm_campaign=Social

    Flow&utm_source=Twitter&utm_medium=APCentralRegion (last accessed July

    21, 2019).

 298.   On February 26, 2018, The United States Department of Education

    announced a new investigation into Michigan State University’s Title IX

    compliance related to the Nassar matter. See https://www.ed.gov/news/press-

    releases/us-department-education-launches-new-directed-investigation-msu-

    title-ix-compliance (last accessed July 21, 2019).

 299.   On the same day that the U.S. Department of Education announced the new

    investigation into Michigan State University, Dr. Angela Busch reported the

    accusations of Jane Roe 2 to the Office of Institutional Equity at MSU.

 300.   On March 27, 2018, Nassar’s former boss and former dean of the College of

    Osteopathic Medicine at MSU was arrested for felony misconduct in office,

    fourth-degree criminal sexual conduct, and willful neglect of duty, related to his

    own alleged sexual misconduct with students and to passing details of the

    school’s 2004 Title IX investigation to Nassar. See SBNation, Former Michigan

    State dean William Strampel arrested for sexual misconduct, March 27, 2018,

    https://www.sbnation.com/2018/3/27/17168860/former-michigan-state-dean-




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    william-strampel-arrested-sexual-misconduct-larry-nassar (last accessed July

    21, 2019.

 301.   On April 13, 2018, one of Nassar’s victims spoke at a Michigan State

    University board meeting and alleged that interim president John Engler

    attempted to coerce her into taking a settlement and drop the civil case against

    MSU. See The State News, Survivor accuses Engler of trying to settle lawsuit

    without attorney present, April 13, 2018,

    https://statenews.com/article/2018/04/nassar-survivor-kaylee-lorincz-accuses-

    engler-of-trying-to-settle-lawsuit-without-her-attorney-present (last accessed

    July 21, 2019).

 302.   On May 16, 2018, Michigan State University agreed to pay a $500 million

    settlement to over 300 victims of Nassar. See SBNation, Michigan State to pay

    $500M to survivors of abuse by Larry Nassar, May 16, 2018,

    https://www.sbnation.com/2018/5/16/17360888/michigan-state-500-million-

    settlement-larry-nassar-sexual-abuse-trial (last accessed July 21, 2019).

 303.   On August 23, 2018, former MSU gymnastics coach Kathy Klages was

    charged with two counts of lying to police regarding allegations that she was

    aware of abuse by Nassar but told police she had no knowledge of being told

    about the abuse by Nassar victims. See SB Nation, Former MSU coach Kathie

    Klages charged with lying to investigators in LN case, August 23, 2018,

    https://www.sbnation.com/2018/8/23/17773968/msu-coach-kathie-klages-charged-

    lying-to-investigators-larry-nassar (last accessed July 21, 2019).



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 304.   On November 20, 2018, former MSU president Lou Anna Simon was charged

    with lying to the state police during the Nassar investigation. See Associated

    Press, Ex-MSU president charged with lying to police about Nassar, November

    20, 2018, https://apnews.com/fc230ddb8e024374beb73db4bc5460a2 (last accessed

    July 21, 2019).

 305.   On December 14, 2018, a U.S. Department of Education report finding that

    Michigan State University was in violation of the Clery Act, 20 U.S.C. § 1092(f),

    was sent to MSU’s general counsel. The Clery Act violations could subject MSU

    to significant fines and loss of millions of dollars in federal financial aid. See

    Lansing State Journal, MSU cited for ‘serious noncompliance’ with Clery Act

    related to Nassar, crime reporting, January 30, 2019,

    https://www.lansingstatejournal.com/story/news/2019/01/30/msu-cited-

    violations-clery-act-related-larry-nassar/2725326002/ (last accessed July 19,

    2019).

 306.   On information and belief, the U.S. Department of Education report that was

    sent to MSU’s general counsel on December 14, 2018 that could result in

    significant fines and the loss of millions of dollars in federal financial aid to MSU

    came out during the middle of the investigation into the accusations by Jane Roe

    1 and Jane Roe 2 against John Doe, and only weeks prior to MSU’s first findings

    against John Doe in the Final Investigative Report.

 307.   A December 21, 2018 report from the Michigan Attorney General alleged that

    numerous MSU staff, athletic trainers, and doctors were told of concerns



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    regarding Nassar and failed to report. See Lansing State Journal, Special

    prosecutor: MSU actions ‘made it virtually impossible to know’ truth about

    Nassar, December 21, 2018,

    https://www.lansingstatejournal.com/story/news/local/2018/12/21/larry-nassar-

    michigan-state-university-attorney-general-investigation/2380754002/ (last

    accessed July 21, 2019).

 308.   On January 16, 2019, Michigan State University’s interim president, John

    Engler, resigned following public pressure over his handling of the Nassar

    scandal. See Lansing State Journal, Engler’s impending departure from

    Michigan State prompts strong reactions, January 16, 2019,

    https://www.lansingstatejournal.com/story/news/local/2019/01/16/msu-fire-john-

    engler-michigan-state-larry-nassar-survivors/2581373002/ (last accessed July 22,

    2019).

 309.   Michigan State University faced intense public scrutiny over its handling of

    the Nassar abuse scandal. See, e.g., Lansing State Journal, Special prosecutor:

    MSU actions ‘made it virtually impossible to know’ truth about Nassar,

    December 21, 2018,

    https://www.lansingstatejournal.com/story/news/local/2018/12/21/larry-nassar-

    michigan-state-university-attorney-general-investigation/2380754002/ (last

    accessed July 21, 2019); The Chronicle of Higher Education, The Nassar Scandal

    and the Crisis of Michigan State’s President, January 17, 2019,

    https://www.chronicle.com/specialreport/The-Nassar-Scandalthe/179 (last



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   accessed July 22, 2019); Corporate Counsel, Critical Federal Report Faults

   Michigan State’s General Counsel Office in Nassar Scandal, January 31, 2019,

   https://www.law.com/corpcounsel/2019/01/31/critical-federal-report-faults-

   michigan-states-general-counsel-office-in-nassar-

   scandal/?slreturn=20190622204250 (last accessed July 22, 2019); Chicago

   Tribune, Resignations, firings, charges filed: How the Larry Nassar abuse

   scandal has shone a spotlight on others, January 16, 2019,

   https://www.chicagotribune.com/sports/college/ct-spt-larry-nassar-scandal-

   others-affected-20190116-story.html (last accessed July 22, 2019); Inside Higher

   Ed, New President, Same Fears, May 29, 2019,

   https://www.insidehighered.com/news/2019/05/29/fears-about-athletics-sexual-

   violence-and-transparency-abound-michigan-state-names (last accessed July 22,

   2019); The Atlantic, Michigan State University Is Botching Its Reputation-Rehab,

   March 19, 2018,

   https://www.theatlantic.com/education/archive/2018/03/michigan-state-

   university-is-botching-its-reputation-rehab/555932/ (last accessed July 22, 2019);

   San Francisco Chronicle, Michigan State abuse scandal continues to shock,

   disgust, January 16, 2019,

   https://www.sfchronicle.com/sports/annkillion/article/Michigan-State-abuse-

   scandal-continues-to-shock-13539523.php?psid=dPFTdn (last accessed July 22,

   2019).




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 310.   On information and belief, Michigan State University engaged in gender bias

    against male students like John Doe in part based on pressure associated with

    the critical press coverage related to the Nassar scandal.

 311.   On information and belief, Michigan State University engaged in bias in

    favor of students who accuse other students of sexual misconduct like John Doe

    in part based on pressure associated with the critical press coverage related to

    the Nassar scandal.

 312.   On information and belief, Michigan State University engaged in gender bias

    against male students and bias in favor of students who accuse other students of

    sexual misconduct in part based on pressure associated with complaints filed

    with the United States Department of Education’s Office of Civil Rights (OCR)

    which alleged Michigan State University violated the rights of females who

    alleged males engaged in sexual misconduct.

 313.   Evidence supporting the allegations in the preceding paragraph includes, but

    is not limited to, a complaint for investigation by OCR filed on July 21, 2011,

    based on a June 9, 2011 complaint, on information and belief, filed by a female

    student at MSU who alleged that MSU failed to respond appropriately when she

    reported that she was sexually assaulted by a male student.

 314.   Evidence supporting the allegations in ¶312 includes, but is not limited to, a

    complaint for investigation filed by OCR in response to, on information and

    belief, a January 29, 2014 complaint by a female student at MSU who alleged




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    that MSU discriminated on the basis of sex when it failed to promptly and

    equitably respond to complaints of sexual violence by a male student.

 315.   Evidence supporting the allegations in ¶312 includes, but is not limited to, a

    complaint for investigation by OCR filed on February 26, 2018 regarding MSU’s

    handling of the accusations against Dr. Larry Nassar.

 316.   Evidence supporting the allegations in ¶312 includes, but is not limited to, an

    April 11, 2011 “Dear Colleague” letter issued by OCR which instructed how

    colleges and universities must investigate and resolve complaints of sexual

    misconduct under Title IX. (“2011 Dear Colleague Letter”) (available at

    https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html (last

    accessed July 22, 2019). This letter manifests indirect evidence of gender bias in

    part by equating complainants in sexual misconduct proceedings as being

    females who must receive preferential treatment. For instance, the 2011 Dear

    Colleague Letter:

        (a) Suggests educational institutions seek grants from the U.S. Department

           of Justice’s Office on Violence against Women which require institutions

           ‘develop victim service programs and campus policies that ensure victim

           safety, [and] offender accountability ….” (p.19)

        (b) Warns education institutions that they must “never” view the “victim at

           fault for sexual violence” if she has been using “alcohol or drugs.” In fact,

           OCR asks “schools to consider” providing students who violate alcohol or




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           drug policies with amnesty if they allege they were sexually assaulted

           while consuming alcohol or drugs. (p.15)

        (c) Requires educational institutions “minimize the burden on the

           complainant.” (p.15-16)

 317.   The 2011 Dear Colleague Letter also manifests indirect evidence of gender

    bias by making it more difficult for males accused of sexual misconduct to defend

    themselves. For example, the 2011 Dear Colleague Letter required schools to

    adopt the lowest burden of proof – “more likely than not” – in cases involving

    sexual misconduct. Several colleges had been using “clear and convincing” and

    some, like Stanford, applied the criminal standard of “beyond a reasonable

    doubt.”

 318.   Evidence supporting the allegations in ¶312 includes, but is not limited to, an

    OCR directive signed by OCR’s then Asst. Sec. of Ed. Catherine E. Lhamon

    (“Sec. Lhamon”) titled “Questions and Answers on Title IX and Sexual Violence”

    (OCR’s 2014 Q&A) (available at

    https://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf) (last

    accessed July 22, 2019). This OCR directive manifests indirect evidence of

    gender bias in part because it hampered the accused student’s ability to defend

    himself by reducing or eliminating the ability to expose credibility flaws in the

    allegations made against him. For example, OCR’s 2014 Q&A states

    universities:




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    (a) “[M]ust not require a complainant to be present” at sexual misconduct

        disciplinary hearings. (p.30)

    (b) May decide to eliminate all opportunities for “cross examination.” (p. 31)

    (c) Must avoid “revictimization” by minimizing the number of times a victim is

        interviewed so “complainants are not unnecessarily required to give multiple

        statements about a traumatic event.” (p.30, 38)

 319.   Upon information and belief, Michigan State University institutionalized

    OCR’s indirect evidence of gender bias into MSU’s implementation of MSU’s

    policies. Evidence supporting this allegation includes, but is not limited to,

    threats made by Sec. Lhamon when she told college officials attending a

    conference at the University of Virginia that schools need to make “radical”

    change. According to the Chronicles of Higher Education, college presidents

    suggested afterward that there were “crisp marching orders from Washington.”

    See, Chronicles of Higher Education, Colleges Are Reminded of Federal Eye on

    Handling of Sexual-Assault Cases, February 11, 2014,

    https://www.chronicle.com/article/Colleges-Are-Reminded-of/144703/ (last

    accessed July 22, 2019).

 320.   Evidence supporting the allegation in ¶312 includes, but is not limited to, the

    fact that OCR’s investigations of Michigan State University put millions of

    dollars in federal student aid at risk. This is because the Department of

    Education/OCR can impose civil penalties and/or suspend institutions from

    participating in federal student financial aid programs if the Department of



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    Education/OCR finds a university, such as MSU, did not do enough to discipline

    males alleged to have engaged in sexual misconduct with female students. Sec.

    Lhamon confirmed this risk of losing federal funds at a national conference at

    Dartmouth when she said, “I will go to enforcement, and I am prepared to

    withhold federal funds.” See, National Public Radio, How Campus Sexual

    Assaults Came to Command New Attention, August 12, 2014,

    https://www.npr.org/2014/08/12/339822696/how-campus-sexual-assaults-came-

    to-command-new-attention (last accessed July 22, 2019).

 321.   Similarly, Sec. Lhamon told a Senate Committee, “[t]his administration is

    committed to using all its tools to ensure that all schools comply with Title IX….”

    In addition, Sec. Lhamon noted:

        “If OCR cannot secure voluntary compliance from the recipient, OCR
        may initiate an administrative action to terminate and/or refuse to
        grant federal funds or refer the case to the DOJ to file a lawsuit
        against the school. To revoke federal funds – the ultimate penalty – is
        a powerful tool because institutions receive billions of dollars a year
        from the federal government for student financial aid, academic
        resources and many other functions of higher education. OCR has not
        had to impose this severe penalty on any institution recently because
        our enforcement has consistently resulted in institutions agreeing to
        take the steps necessary to come into compliance and ensure that
        students can learn in safe, nondiscriminatory environments.”

 322.   On information and belief, for Michigan State University, the

    withdrawal of federal funding would be catastrophic, in part, because, in

    academic year 2017-2018 MSU undergraduate students received more

    than 111 million dollars in federal student loans.




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    (https://nces.ed.gov/collegenavigator/?id=171100#finaid) (last accessed

    July 22, 2019).

 323.   Similarly, evidence supporting the allegation in ¶312 includes, but is not

    limited to, the fact that at least 19 courts identified OCR pressure on defendant

    universities as establishing plausible evidence of gender bias sufficient to reject

    motions to dismiss Title IX claims. See, Doe v Baum, 903 F.3d 575 (6th Cir. 2018)

    (reversing dismissal of Title IX erroneous result in part because “[a]round two

    years before Doe’s disciplinary proceeding, the federal government launched an

    investigation to determine whether the university’s process for responding to

    allegations of sexual misconduct discriminated against women.”); Miami Univ.,

    882 F.3d 579, 592-94 (6th Cir. 2018) (finding plaintiff established a “pattern of

    gender-based decision-making in part because plaintiff alleged defendant

    university faced “external pressure” from the federal government, President

    Obama’s Administration, and/or OCR); Schaumleffel v Muskingum University,

    No. 2:17-cv-463-GCS-KAJ, 2018 WL 1173043, *16 (S.D.OH. Mar. 6 2018)

    (rejecting motion to dismiss Title IX claim because plaintiff alleged he was

    erroneously expelled in part because DOE pressure caused university to “fear” a

    loss of “federal funding.”); Gischel v Univ. of Cincinnati, No. 1:17-cv-475, 2018

    WL 705886, *9 (S.D.W.D.OH. Feb. 5, 2018) (rejecting motion to dismiss in part

    because of alleged gender bias pressure linked to OCR Title IX investigation

    since “[t]he Sixth Circuit has recognized that being investigated by the federal

    government for potential Title IX violations is a relevant allegation suggesting



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    that the university might be induced to discriminate against males in

    disciplinary hearings for alleged sexual assault.”); Doe v Ohio State Univ., No.

    2:16-cv-171, 2017 WL 951464, *15, 17 (S.D.OH. Mar. 10, 2017) (noting Title IX

    plaintiff alleged indirect/circumstantial evidence of gender bias in part by

    alleging “pressure from the executive branch of the Federal government …

    [related to] the temporal connection between … [DOE’s] investigation of OSU

    and OSU’s investigation of” plaintiff); Doe v Marymount Univ., Case No. 1:17-cv-

    401-TSE-MSN, 2018 WL 1352158, *10 (E.D.VA. Mar. 14, 2018) (rejecting motion

    to dismiss in part because plaintiff alleged: “Marymount’s sexual assault policy

    was influenced by [OCR’s] Dear Colleague Letter and other political forces and

    that the University's procedures were designed to convict male students of

    sexual assault, whether they were guilty or not . . . .”); Doe v. Syracuse Univ.,

    No.17-cv-787, 2018 WL 4440530, *9 (N.D.N.Y. Sept. 16, 2018)(rejecting MTD

    Title IX claim because a “reasonable inference could be drawn” that university

    investigators and adjudicators were “‘motivated to refute [public] criticisms [of

    Syracuse’s handling of sexual abuse allegations] by siding with the accusing

    female and against the accused male.’ . . . In part because of prior OCR

    investigations of Syracuse)(internal citations omitted); Neal v. Col. St. Univ., No.

    16-cv-873-(RM)(CBS), 2017 WL 633045, *14 (D.Col. Feb. 16, 2017)( rejecting

    motion to dismiss in part because plaintiff alleged his erroneous outcome

    involved university succumbing to “pressure to avoid DOE investigation and loss

    of federal funding . . . .”); Doe v. Washington & Lee Univ., No. 6:14-cv-00052,



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    2015 U.S. Dist. LEXIS 102426, *29 (W.D.Va., Aug. 5, 2015) (refusing to dismiss

    Title IX claim in part because plaintiff alleged university was “under pressure

    from the government to convict male students of sexual assault, [therefore] a

    reasonable fact finder could plausibly determine that Plaintiff was wrongly

    found responsible for sexual misconduct and that this erroneous finding was

    motivated by gender bias.”); Wells v. Xavier Univ., 7 F. Supp. 3d 746, 747, 751

    (S.D.OH. 2014)( rejecting motion to dismiss in part because plaintiff alleged

    university made him a “scapegoat” in reaction to OCR’s investigations of the

    university)); Collick v. William Paterson Univ. No. 16–471(KM)(JBC), 2016 WL

    6824374, *12 (D.N.J. Nov. 17, 2016) (refusing to dismiss a Title IX claim in part

    because plaintiff alleged OCR pressure may have caused university to “believe it

    was in the spotlight” and therefore erroneously disciplined plaintiff to show it

    would sanction males accused of sexual misconduct)(affirmed in part, remanded

    in part on different grounds by Collick v. William Paterson Univ., 699 Fed.Appx.

    129 (3rd Cir. 2017)); Doe v. Lynn Univ. Inc. 235 F.Supp.3d 1336 (S.D.FL. 2017)

    (refusing to dismiss Title IX claim where plaintiff alleged his discipline occurred

    in part because of pressure related to DOE directives interpreted by university

    as mandating discipline of male students accused of sexually assaulting female

    students); Doe v. Salisbury Univ., 123 F. Supp. 3d, 748, 768 (D.Md. 2015)(same);

    Doe v. Regents of Univ. of California, No. 2:15-cv-02478-SVW-JEM (C.D.CA June

    8, 2017) (rejecting motion to dismiss because plaintiff alleged university faced

    “growing local and national pressure” to discipline male students generated in



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    part by female students’ OCR complaints alleging the university “failed to

    adequately handle their complaints of sexual assault.”) (reversed on other

    grounds by Doe v. Regents of Univ. of California, 2018 WL 1476666 (9th Cir.

    2018). Doe v. George Washington Univ. No.18-cv-553, 2018 WL 6700596, *7 (D.C.

    Dec. 20, 2018)(rejecting motion to dismiss Title IX claim in part because plaintiff

    established plausible gender bias by alleging multiple OCR investigations

    against defendant university); Norris v. Univ. of Colorado, Boulder, Civil Case

    No. 1:18-cv-02243-LTB, 2019 WL 764568, *11 (D. Co. Feb. 21, 2019)(rejecting

    motion to dismiss Title IX claim because plaintiff alleged OCR/federal pressure

    on defendant university similar to – or less egregious than – that in Doe’s

    Complaint); Noakes v. Syracuse Univ., No. 5:18-cv-43 (TJM/DEP), 2019 WL

    936875 *12 (N.D.N.Y. Feb. 26, 2019)(same); Doe v. Rollins Coll., No. 6:18-cv-

    1069-Orl-37KRS, 2019 WL 208283, *3 (M.D. Fla. Jan. 16, 2019)(same); Jia v.

    Univ. of Miami, No.1-17-cv-20018, Docket 160, p.10 (S.D.Fla. Feb. 12,

    2019)(same).

 324.   Michigan State University’s legitimate goal of preventing sexual assault is

    not the issue in, nor is it the basis for, this Complaint. Rather this Complaint

    addresses how Michigan State University’s gender bias and bias in favor of

    students who accuse other students of sexual misconduct caused them to (a)

    afford females like Jane Roe 1 and Jane Roe 2 preferential treatment regarding

    Title IX and/or other MSU policies; (b) severely discipline male students like

    John Doe who are alleged to have engaged in sexual misconduct regardless of



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    their innocence, and (c) equate “victim/complainants” in sexual misconduct

    proceedings as being females who receive preferential treatment over the males

    they accuse of sexual misconduct.

                              COUNT I
                        VIOLATION OF TITLE IX
                (DEFENDANT MICHIGAN STATE UNIVERSITY)

 325.   Plaintiff repeats and incorporates all of the allegations of this Complaint, as

    if fully set forth herein.

 326.   This count is brought against Defendant Michigan State University.

 327.   Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. §§ 1681 et

    seq., and its implementing regulations, 34 C.F.R. Part 106, prohibit

    discrimination on the basis of sex in education programs or activities operated

    by recipients of Federal financial assistance. Title IX provides in pertinent part:

    “No person … shall, on the basis of sex, be excluded from participation in, be

    denied the benefits of, or be subjected to discrimination under any education

    program or activity receiving Federal financial assistance.”

 328.   Michigan State University is an education program or activity operated by

    recipients of Federal financial assistance.

 329.   Title IX bars the imposition of university discipline where gender is a

    motiving factor in the decision to discipline.

 330.   Michigan State University committed impermissible gender bias against the

    Plaintiff in the investigation and adjudication of Jane Roe 1 and Jane Roe 2’s

    accusations.



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 331.   Michigan State University committed impermissible bias in favor of students

    who accuse other students of sexual misconduct in the investigation and

    adjudication of Jane Roe 1 and Jane Roe 2’s accusations.

 332.   The investigators and reviewing administrators reached conclusions that

    were incorrect and contrary to the weight of the evidence.

 333.   Particular circumstances suggest that gender bias was a motiving factor

    behind the erroneous findings and the decision to impose discipline upon John

    Doe. These circumstances include:

        a. The Office of Institutional Equity (“OIE”), who conducts investigations

           under Title IX for Defendant Michigan State University, trains its

           investigators in a trauma-informed, victim-centered approach. This

           creates a general atmosphere at Michigan State University and OIE that

           those who lodge a complaint of sexual misconduct are immediately treated

           as “survivors” and, as a result, believed without any further investigation

           or questioning.

        b. The training of OIE investigators and decision-makers from victims’

           advocates in an inappropriate manner designed to produce results against

           males accused of sexual misconduct.

        c. The decision of Defendant Michigan State University to ignore significant

           evidence that tended to exonerate accused students.

        d. Improper pressure upon investigators to make findings against male

           students accused of sexual misconduct.



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        e. The reluctance of Defendant Michigan State University to amend its

           RVSMP to permit a hearing and cross-examination in cases where male

           students have been accused of sexual misconduct.

 334.   Defendant Michigan State University committed impermissible gender bias

    against John Doe in the investigation and adjudication of the Complainants’

    accusations. The inference of bias is drawn from the following:

        a. Michigan State University has been subject to significant public scrutiny

           based upon its handling of reports of sexual violence against its former

           employee, Dr. Larry Nassar, as well as other complaints of sexual

           misconduct.

        b. Michigan State University is subject to an investigation by the Office of

           Civil Rights (“OCR”).

           i.    On information and belief, Michigan State University was under

                 pressure as a result of the OCR investigation to avoid Title IX

                 liability, the possible loss of federal funding, and further public

                 criticism; this has led to a disciplinary system that is biased against

                 males.

           ii.   On information and belief, Michigan State University pursued the

                 matter against John Doe as a direct result of the OCR

                 investigation. This belief is based upon the timeline of events:

                 Members of MSU CHM were aware of the claims by Jane Roe 1 and

                 Jane Roe 2 in late 2017 and early 2018, but did not file a complaint



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                with OIE until February 26, 2018 – the exact same date that the

                United States Secretary of Education Betsy Devos announced a new

                Title IX directed investigation into Michigan State University’s

                handling of reports of sexual violence against former employee, Dr.

                Larry Nassar.

       c. There has been substantial criticism of Michigan State University, both in

          the student body and in the public media, including on the internet,

          accusing Michigan State University of not taking seriously complaints of

          female students alleging sexual misconduct by male students. On

          information and belief, the Michigan State University administration was

          cognizant of, and sensitive to, these criticisms. As a result, Michigan State

          University’s decision-makers and its investigators were motivated to favor

          the accusing females over the accused male, so as to protect themselves

          and Michigan State University from accusations that they had failed to

          protect female students from sexual assault.

       d. On information and belief, having been severely criticized in the student

          body and in the public press for tolerating sexual misconduct directed at

          female students, Michigan State University was motivated in this

          instance to accept the females’ accusations of sexual misconduct so as to

          show the student body and the public that Michigan State University is

          serious about protecting female students from sexual misconduct by a

          male student. The investigator and administration adopted a biased



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          stance in favor of the accusing female and against the defending male in

          order to avoid further fanning the criticisms that Michigan State

          University turned a blind eye to such assaults.

       e. In response to the criticism that Michigan State University faced as a

          result of the Nassar scandal, MSU began to engage in a campaign

          designed to encourage members of their community to believe women who

          make accusations of sexual misconduct against men. MSU did not

          similarly engage in a campaign to encourage members of their community

          to believe men who made accusations of sexual assault against women.

          Among other things, this is evidenced by:

        i. The Michigan State University Museum featured an exhibit entited,

           “Finding Our Voice: Sister Survivors Speak,” which featured female

           victims of sexual misconduct. See, The Detroit News, ‘Finding Our Voice:

           Sister Survivors Speak’ exhibition opens at MSU, April 17, 2019,

           https://www.detroitnews.com/story/news/local/michigan/2019/04/16/findi

           ng-our-voice-sister-survivors-speak-exhibition-opens-michigan-

           state/3487796002/ (last accessed September 29, 2019).

           ii. Michigan State University’s Alumni Magazine issued a “teal issue”

           addressing the issue of sexual misconduct in the wake of the Larry

           Nassar scandal. All of the authors listed in the issue were women, and

           many of the articles specifically addressed women as victims of sexual

           misconduct. MSU did not similarly address male victims of female sexual



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            misconduct. See, Spartan, Michigan State University Alumni Magazine,

            Special Issue 2018,

            http://www.onlinedigitalpubs.com/publication/?i=577397#{%22issue_id%2

            2:577397,%22page%22:0} (last accessed September 29, 2019).

     iii.   Michigan State University’s website provides information about how to

            be supportive of survivors of sexual assault. See

            https://centerforsurvivors.msu.edu/sexual-assault/how-to-be-supportive/

            (last accessed September 29, 2019). A link to a recommended article

            regarding to how to support of survivor of sexual assault provides

            information about how to support a survivor of violence against women,

            which includes a recommendation about speaking to men about being

            perpetrators of sexual assault. See, The Pixel Project, December 8, 2013,

            16 Ways You Can Support a Survivor of Violence Against Women,

            https://16days.thepixelproject.net/16-ways-you-can-support-a-survivor-of-

            violence-against-women/ (last accessed September 29, 2019). MSU does

            not similarly provide information about how to support men who are

            survivors of sexual assaults by women, or recommendations regarding

            speaking to women about being perpetrators of sexual assault.

 335.   Michigan State University, encouraged by federal officials, has instituted

    solutions to sexual misconduct against women that abrogate the civil rights of

    men and treat men differently than women.




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 336.   Michigan State University has only focused on instituting solutions to sexual

    misconduct against women perpetrated by men. Michigan State University has

    done nothing to address sexual misconduct perpetrated by women.

 337.   As a result, men who face accusations of sexual misconduct are treated

    differently than women who face accusations of sexual misconduct.

 338.   Michigan State University officials and administrators who had the authority

    to institute corrective measures had actual notice of and failed to correct the

    misconduct. The imposition of discipline on John Doe is the result of a flawed

    and biased process. This resulted in a deprivation of access to educational

    opportunities at Michigan State University and CHM.

 339.   The decision of the Resolution Officer against John Doe resulted in an

    erroneous outcome and a sanction of dismissal, which was the direct result of a

    flawed and biased proceeding.

        a. In a fair and unbiased system, whether someone is a “victim” is a

           conclusion to be reached at the end of a fair process, not an assumption to

           be made at the beginning. Michigan State University has reversed this

           process and assumed that John Doe was guilty because he was a male

           accused of sexual misconduct rather than evaluating the case on its own

           merits.

        b. On information and belief, women rarely, if ever, are accused of sexual

           misconduct by Michigan State University.




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 340.   Michigan State University has discriminated against John Doe because of

    sex. This discrimination is intentional and is a substantial or motivating factor

    for Michigan State University’s actions in this case.

 341.   As a direct and proximate result of Michigan State University’s violations of

    John Doe’s rights under Title IX, John Doe has suffered severe and substantial

    damages. These damages include diminished earnings capacity, lost career

    opportunities, litigation expenses including attorney fees, loss of reputation,

    humiliation, embarrassment, inconvenience, mental and emotional anguish and

    distress and other compensatory damages, in an amount to be determined by a

    jury and the Court.

 342.   Defendant Michigan State University is liable to John Doe for his damages.

 343.   Pursuant to 42 U.S.C. §1988, John Doe is entitled to his attorney’s fees

    incurred in bringing this action.

                                COUNT II
     42 U.S.C. §1983 – VIOLATION OF EQUAL PROTECTION CLAUSE OF
      UNITED STATES CONSTITUTION – GENDER DISCRIMINATION
                 (DEFENDANTS KENT, SHAFER, AND SOUSA)

 344.   Plaintiff repeats and incorporates all of the allegations of this Complaint, as

    if fully set forth herein.

 345.   This count is brought against individual Defendants Robert Kent, Rick

    Schafer, and Aron Sousa, M.D., in their individual and official capacities.

 346.   The Fourteenth Amendment to the United States Constitution provides in

    pertinent part:




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          All persons born or naturalized in the United States, and subject
          to the jurisdiction thereof, are citizens of the United States and of
          the State wherein they reside. No State shall make or enforce any
          law which shall abridge the privileges or immunities of citizens of
          the United States; nor shall any State deprive any person of life,
          liberty, or property, without due process of law; nor deny to any
          person within its jurisdiction the equal protection of the laws.

 347.   During John Doe’s interview with Kroll, John Doe disclosed that he drank

    alcohol on the night in question.

 348.   John Doe disclosed that he drank enough alcohol that it should have raised

    questions for OIE about whether John Doe was incapacitated by his use of

    alcohol on the night in question, as they questioned whether Jane Roe 1 and

    Jane Roe 2’s use of alcohol rendered them incapacitated.

 349.   John Doe’s incapacitation is supported by the fact that he could not achieve

    an erection during his sexual contact with Jane Roe 1.

 350.   John Doe reported to Kroll’s investigators that Jane Roe 2 initiated a kiss

    with him, with tongue, at The B.O.B., before the group returned to K.B.’s home.

 351.   John Doe reported to Kroll’s investigators that while at K.B.’s home, Jane

    Roe 2 grinded her buttocks against his genitals.

 352.   John Doe had been consuming alcohol throughout these time periods and

    reported being “drunk.”

 353.   The actions reported by John Doe regarding Jane Roe 2 were violations of the

    Relationship Violence and Sexual Misconduct Policy by Jane Roe 2.

 354.   OIE, through Kroll, failed to investigate Jane Roe 2’s violations of the

    RVSMP.



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 355.   John Doe also reported these factual accusations to the College of Human

    Medicine during the hearing regarding his interim suspension.

 356.   CHM failed to investigate Jane Roe 2’s violations of the RVSMP and MSRR.

 357.   Jane Roe 2 was a female, similarly situated student to John Doe.

 358.   Jane Roe 2 was treated more favorably by MSU’s OIE and CHM as a result of

    her gender.

 359.   The allegations of gender discrimination made in this Complaint further

    demonstrate that Defendants violated Plaintiff’s clearly established right not to

    be discriminated against on the basis of sex, in violation of the Fourteenth

    Amendment, and therefore, 42 U.S.C. § 1983.

 360.   As a direct and proximate result of Defendants’ violations of John Doe’s

    rights under the Fourteenth Amendment, John Doe has suffered severe and

    substantial damages. These damages include diminished earnings capacity, lost

    career opportunities, litigation expenses including attorney fees, loss of

    reputation, humiliation, embarrassment, inconvenience, mental and emotional

    anguish and distress and other compensatory damages, in an amount to be

    determined by a jury and the Court.

 361.   Defendants are liable to John Doe for his damages.

 362.   Pursuant to 42 U.S.C. §1988, John Doe is entitled to his attorney’s fees

    incurred in bringing this action.

                                COUNT III
     42 U.S.C. §1983 – VIOLATION OF EQUAL PROTECTION CLAUSE OF
          UNITED STATES CONSTITUTION – BURDEN OF PROOF
                 (DEFENDANTS KENT, SHAFER, AND SOUSA)

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 363.   Plaintiff repeats and incorporates all of the allegations of this Complaint, as

    if fully set forth herein.

 364.   This count is brought against individual Defendants Robert Kent, Rick

    Schafer, and Aron Sousa, M.D., in their individual and official capacities.

 365.   The Fourteenth Amendment to the United States Constitution provides in

    pertinent part:

          All persons born or naturalized in the United States, and subject
          to the jurisdiction thereof, are citizens of the United States and of
          the State wherein they reside. No State shall make or enforce any
          law which shall abridge the privileges or immunities of citizens of
          the United States; nor shall any State deprive any person of life,
          liberty, or property, without due process of law; nor deny to any
          person within its jurisdiction the equal protection of the laws.

 366.   The individual Defendants, as agents of Michigan State University, have a

    duty to provide Michigan State University’s students equal protection by and

    through any and all policies and procedures set forth by Michigan State

    University.

 367.   Plaintiff obeyed all institutional rules when he was wrongly suspended and

    later dismissed by Michigan State University.

 368.   The conduct of medical students at MSU’s CHM is governed by the policy

    outlined in the MSRR.

 369.   The policies of the MSRR govern the adjudication of accusations of sexual

    misconduct against medical students at MSU’s CHM.

 370.   The policies of the MSRR govern the adjudication of accusations of other

    types of misconduct against medical students at MSU’s CHM.

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 371.   Nothing in the MSRR requires that accusations of sexual misconduct be

    adjudicated under a different policy.

 372.   The MSRR requires that all accusations of misconduct, including sexual

    misconduct, be adjudicated using a standard of clear and convincing evidence.

 373.   MSU has a general policy governing the adjudication of accusations of sexual

    misconduct, the RVSMP.

 374.   The RVSMP adjudicates accusations of sexual misconduct using a

    preponderance of the evidence standard.

 375.   Clear and convincing evidence is a higher burden of proof than a

    preponderance of the evidence standard.

 376.   Nothing in MSU’s policies provide a justification or requirement that medical

    students who are accused of sexual misconduct be adjudicated under the RVSMP

    rather than the MSRR.

 377.   In this case, MSU and the individual defendants applied a preponderance of

    the evidence standard in determining the outcome of the claims against John

    Doe, a medical student at CHM, using the policies of the RVSMP.

 378.   According to the MSRR, John Doe’s matter should have been adjudicated

    using a standard of clear and convincing evidence, a higher burden of proof.

 379.   MSU and the individual defendants have created two classes of medical

    students who are accused of misconduct: (1) medical students who are accused of

    sexual misconduct (“MSSM”) and (2) medical students who are accused of other

    types of misconduct (“MSOM”).



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 380.   MSU and the individual defendants are treating MSSMs differently than

    MSOMs.

 381.   MSSMs are adjudicated using a preponderance of the evidence standard.

 382.   MSOMs are adjudicated using a clear and convincing evidence standard.

 383.   There is no rational basis for treating MSSMs differently than MSOMs.

 384.   While the statutory text of Title IX does not dictate a standard of evidence to

    be used by universities in investigations of sexual misconduct, equal protection

    requires the use of a clear and convincing evidence standard.

 385.   Although civil litigation matters generally use the preponderance of the

    evidence standard, the Title IX grievance processes lack certain protections that

    promote reliability in civil litigation. For example, there are no rules of evidence

    in Title IX grievance processes, there is no right to counsel in Title IX grievance

    processes, and Title IX grievance processes do not afford parties discovery to the

    same extent required by the rules of civil procedure in courts throughout the

    country.

 386.   Title IX grievance processes are analogous to other kinds of civil

    administrative proceedings, which often employ a clear and convincing evidence

    standard. See, e.g. Nguyen v Washington Dept. of Health, 144 Wash. 2d 516

    (2001) (requiring clear and convincing evidence in sexual misconduct case in a

    professional disciplinary proceeding for a medical doctor as a way of protecting

    due process); Disciplinary Counsel v Bunstine, 136 Ohio St. 3d 276 (2013) (clear

    and convincing evidence applied in sexual harassment case involving lawyer).



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 387.   Where a finding of responsibility carries particularly grave consequences for

    a respondent’s reputation and ability to pursue a profession or career, a higher

    standard of proof is warranted.

 388.   At least one court has held that in student disciplinary cases involving

    serious accusations like sexual assault, where the consequences of a finding of

    responsibility would be significant, permanent, and far-reaching, a

    preponderance of the evidence standard is inadequate. Lee v University of New

    Mexico, no. 1:17-cv-01230-JB-LF (D. N.M. Sept. 20, 2018) (“Moreover, the Court

    concludes that preponderance of the evidence is not the proper standard for

    disciplinary investigations such as the one that led to Lee’s expulsion, given the

    significant consequences of having a permanent notation such as the one UNM

    placed on Lee’s transcript.”).

 389.   The imposition of a preponderance of the evidence standard in John Doe’s

    case was violative of the equal protection clause of the Fourteenth Amendment

    of the United States Constitution.

 390.   MSU and CHM have singled out medical students who are respondents in

    sexual misconduct matters (MSSMs) for uniquely unfavorable treatment,

    compared with medical students who face allegations of any other type of

    misconduct (MSOMs).

 391.   While for any other type of disciplinary complaint a MSOM would receive the

    benefit of the application of a clear and convincing evidence standard (see §5.2.4

    of the MSRR), when sexual misconduct is alleged, the matter is instead referred



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    to OIE for investigation, so that the university may apply a preponderance of the

    evidence standard to the MSSM.

 392.    MSOMs are afforded the application of a clear and convincing evidence

    standard in disciplinary proceedings.

 393.    MSSMs receive only a preponderance of the evidence standard in disciplinary

    proceedings.

 394.    The allegations regarding the application of the burden of proof made in this

    Complaint further demonstrate that Defendants violated Plaintiff’s clearly

    established right to equal protection under the law, in violation of the

    Fourteenth Amendment, and therefore, 42 U.S.C. § 1983.

 395.    As a direct and proximate result of Defendants’ violations of John Doe’s

    rights under the Fourteenth Amendment, John Doe has suffered severe and

    substantial damages. These damages include diminished earnings capacity, lost

    career opportunities, litigation expenses including attorney fees, loss of

    reputation, humiliation, embarrassment, inconvenience, mental and emotional

    anguish and distress and other compensatory damages, in an amount to be

    determined by a jury and the Court.

 396.    Defendants are liable to John Doe for his damages.

 397.    Pursuant to 42 U.S.C. §1988, John Doe is entitled to his attorney’s fees

    incurred in bringing this action.

                                  COUNT IV
        42 U.S.C. §1983 – VIOLATION OF DUE PROCESS PROVISIONS OF
                         UNITED STATES CONSTITUTION
                       (DEFENDANTS KENT AND SHAFER)

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 398.   Plaintiff repeats and incorporates all of the allegations of this Complaint, as

    if fully set forth herein.

 399.   This count is brought against individual Defendants Robert Kent and Rick

    Schafer, in their individual and official capacities.

 400.   The Fourteenth Amendment to the United States Constitution provides that

    no state shall “deprive any person of life, liberty, or property, without due

    process of law.”

 401.   In this case, Defendants Kent and Schafer are state actors subject to the

    Fourteenth Amendment.

 402.   42 U.S.C. § 1983 provides in pertinent part:

          Every person who, under color of any statute, ordinance,
          regulation, custom, or usage, of any State or Territory or the
          District of Columbia, subjects, or causes to be subjected, any
          citizen of the United States or other person within the jurisdiction
          thereof to the deprivation of any rights, privileges, or immunities
          secured by the Constitution and laws, shall be liable to the party
          injured in an action at law, suit in equity, or other proper
          proceeding for redress ….

 403.   A person has a protected liberty interest in his good name, reputation, honor,

    and integrity, of which he cannot be deprived without due process.

 404.   A person has a protected property interest in pursuing his education, as well

    as in future educational and employment opportunities and occupational liberty,

    of which he cannot be deprived without due process.

 405.   Plaintiff’s constitutionally protected property interest in his continued

    enrollment at Michigan State University’s College of Human Medicine and his



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    right to complete his medical degree at Michigan State University was violated

    by the actions of Defendants.

 406.   Plaintiff has a constitutional right to be free from arbitrary suspension,

    dismissal, or restrictions on his ability to enter the Michigan State University

    campus.

 407.   It is well established that Fourteenth Amendment due process protections

    are required in higher education disciplinary proceedings.

 408.   A person who has been admitted to a public university has a protected

    property interest in continuing his education at that university until he has

    completed his course of study. The state cannot deprive a person of this interest

    without due process.

 409.   As a result, if Plaintiff, as a Michigan State University medical student, faced

    disciplinary action that included the possibility of suspension or dismissal if

    found responsible for the alleged sexual misconduct, then the Due Process

    provisions of the Fourteenth Amendment to the United States Constitution

    applied to the disciplinary process that Michigan State University used.

 410.   The individual Defendants, as agents of Michigan State University, have a

    duty to provide Michigan State University’s students due process of law by and

    through any and all policies and procedures set forth by Michigan State

    University.

 411.   Plaintiff obeyed all institutional rules when he was wrongly suspended and

    later dismissed by Michigan State University.



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 412.   Under both federal and state law, Plaintiff had a constitutionally protected

    property interest in completing his medical education at the Michigan State

    University College of Human Medicine at the time that he was disciplined by

    Michigan State University and in the future.

 413.   Plaintiff was entitled to a meaningful opportunity to be heard and process

    commensurate with the seriousness of the allegations and the potential

    discipline, sanctions, and repercussions he was facing. The allegations in this

    case have resulted in sanctions that will have lifelong ramifications for Plaintiff.

 414.   Plaintiff was entitled to fundamentally fair procedures to determine whether

    he was responsible for the alleged sexual misconduct.

 415.   Initially, Michigan State University made findings and imposed discipline

    upon John Doe without the benefit of or opportunity for a live hearing.

 416.   In the course of such investigation and adjudication, Defendants flagrantly

    violated Plaintiff’s clearly established rights under the Due Process Clause of the

    Fourteenth Amendment through its deprivation of the minimal requirements of

    procedural fairness by denying Plaintiff the opportunity for a live hearing.

 417.   It was only after John Doe filed an appeal with Michigan State University

    and indicated that he intended to litigate this matter that MSU relented and

    offered a “hearing.”

 418.   Even after providing John Doe with a hearing, MSU continued to violate

    John Doe’s clearly established due process rights under the Fourteenth

    Amendment of the United States Constitution, as follows:



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       a. On the first morning of John Doe’s hearing, John Doe was provided with

          “updated hearing procedures” from OIE.

       b. The “updated hearing procedures,” among other things, provided in part

          that “[c]laimants, respondents, and witnesses may choose to participate or

          not to participate in the hearing process. Parties may choose to answer

          some or all of the questions posed to them during the hearing.” (See

          Michigan State University Relationship Violence and Sexual Misconduct

          Policy Hearing Procedures, Section V(B)).

       c. The “updated hearing procedures” go on to state, “If any party exercises

          the option to not participate or not answer specific questions, it will not

          preclude the Resolution Officer from making a determination of credibility

          and issuing a finding.” (See Michigan State University Relationship

          Violence and Sexual Misconduct Policy Hearing Procedures, Section V(B)).

       d. Specifically, Jane Roe 1 refused to answer multiple questions on cross

          examination, presented to her by John Doe’s counsel.

       e. On information and belief, Jane Roe 1 refused to answer questions about

          her attire on the evening in question.

       f. On information and belief, Jane Roe 1 refused to answer questions about

          her physical size on the evening in question.

       g. On information and belief, Jane Roe 1 refused to answer other questions

          on cross-examination.




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       h. The questions presented to Jane Roe 1 on cross-examination were

          relevant to her credibility and to consent.

       i. Jane Roe 1 had removed her own clothing on the night in question. The

          attire that she was wearing and the fact that she was able to and chose to

          remove those clothing items herself bear directly upon the issue of

          consent.

       j. Jane Roe 1’s relative size to John Doe also was relevant to the issue of

          consent. On information and belief, the hearing testimony supported that

          John Doe weighed approximately 95 pounds on the night in question.

          Jane Roe 1’s relative size to John Doe was relevant to John Doe’s ability to

          intimidate or force Jane Roe 1 to engage in a sexual act.

       k. On information and belief, other questions which Jane Roe 1 refused to

          answer were relevant to the issues of credibility and consent.

       l. Michigan State University is in sole possession of the recording of the

          hearing in this matter.

       m. John Doe was prohibited from recording the hearing.

       n. There may be other relevant questions that Jane Roe 1 refused to answer

          that are currently unknown to John Doe because he does not have access

          to the recording of the hearing.

       o. The Resolution Officer permitted Jane Roe 1 to refuse to answer questions

          on cross-examination by John Doe’s counsel, without penalty and without

          a negative inference as a result of her refusal to answer.



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        p. The policy implemented by OIE resulted in the inability of John Doe to

            fully cross-examine Jane Roe 1, without penalty and without a negative

            inference as a result of her refusal to answer.

 419.   As a direct and proximate result of Defendants’ violations of John Doe’s

    rights under the Fourteenth Amendment, John Doe has suffered severe and

    substantial damages. These damages include diminished earnings capacity, lost

    career opportunities, litigation expenses including attorney fees, loss of

    reputation, humiliation, embarrassment, inconvenience, mental and emotional

    anguish and distress and other compensatory damages, in an amount to be

    determined by a jury and the Court.

 420.   Defendants are liable to John Doe for his damages.

 421.   Pursuant to 42 U.S.C. §1988, John Doe is entitled to his attorney’s fees

    incurred in bringing this action.


                                PRAYER FOR RELIEF

 Plaintiff respectfully requests the following relief:

        •   On Counts I, II, and III, and IV Judgment in favor of John Doe awarding
            damages in an amount to be determined at trial;
        •   Court costs and other reasonable expenses incurred in maintaining this
            action, including reasonable attorney’s fees as authorized by 42 U.S.C.
            §1988;
        •   Any other relief which may be appropriate.




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                                    JURY DEMAND

       Plaintiff requests a jury for all issues so triable in this case.


                                                 Respectfully submitted,

                                                 /s/ Keeley D. Blanchard
 Dated: October 3, 2019                          ____________________________________
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